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 6                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 7                               SAN FRANCISCO DIVISION

 8   THE DEPARTMENT OF FAIR EMPLOYMENT )
     AND HOUSING,                        )
 9        Plaintiff,                     )
10                                       )
          v.                             )                    No. CV 12-1830-EMC
11                                       )
     LAW SCHOOL ADMISSION COUNCIL, INC., )
12        Defendant.                     )
                                         )
13   THE UNITED STATES OF AMERICA,       )                    JOINT MOTION FOR ENTRY
14        Plaintiff-Intervenor,          )                    OF CONSENT DECREE,
                                         )                    INCLUDING PERMANENT
15        v.                             )                    INJUNCTION1 ; ORDER THEREON
                                         )
16   LAW SCHOOL ADMISSION COUNCIL, INC.  )
          Defendant.                     )
17
                                         )
18   ANDREW QUAN, NICHOLAS JONES, and    )
     ELIZABETH HENNESSEY-SEVERSON,       )
19        Plaintiff-Intervenors,         )
                                         )
20        v.                             )
                                         )
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     LAW SCHOOL ADMISSION COUNCIL, INC.  )
22        Defendant.                     )

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       This Joint Motion for Entry of Consent Decree, Including Permanent Injunction, is submitted
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     jointly by all the parties to this action. Pursuant to Civ. LR 3-4(a), a complete list of the parties
27   is contained on the signature page of this document.
                                             CASE NO. CV 12-1830-EMC
28                 JOINT MOTION FOR ENTRY OF CONSENT DECREE, INCLUDING PERMANENT INJUNCTION
              Case 3:12-cv-01830-JCS Document 202 Filed 05/29/14 Page 2 of 4

 1          Plaintiff Department of Fair Employment and Housing, Plaintiff-Intervenor the United

 2 States of America, Plaintiff-Intervenors Andrew Quan, Nicholas Jones, Elizabeth Hennessey-

 3 Severson, and Defendant Law School Admission Council, Inc. (“LSAC”) (collectively “the

 4 Parties”), have resolved all issues in this litigation by Consent Decree, attached as Exhibit A, and

 5
     memorialized by signatures at pages 41-44. In light of the agreement, the Parties respectfully
 6
     request consideration and approval of the attached Consent Decree, entry of the Proposed Order
 7
     and Permanent Injunction (included at the end of the Consent Decree at page 45), and upon
 8

 9 entry, dismissal of this case with prejudice. A proposed Order is attached.

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     DATED: May 20, 2014                          Respectfully submitted,
11
   FOR THE CALIFORNIA                             FOR THE UNITED STATES
12
   DEPARTMENT OF FAIR                             OF AMERICA:
13 EMPLOYMENT AND HOUSING:

14 PHYLLIS W. CHENG                               JOCELYN SAMUELS
   Director                                       Acting Assistant Attorney General
15                                                Civil Rights Division
16
   JON ICHINAGA                                   EVE L. HILL
17 Chief Counsel                                  Deputy Assistant Attorney General
                                                  Civil Rights Division
18
                                                  REBECCA B. BOND
19                                                Chief
20                                                ROBERTA KIRKENDALL
                                                  Special Legal Counsel
21                                                KATHLEEN P. WOLFE
                                                  Special Litigation Counsel
22                                                Disability Rights Section
                                                  Civil Rights Division
23

24 /s/ Mari Mayeda                                /s/ Nabina Sinha
                                                  NABINA SINHA
   MARI MAYEDA
25                                                MEGAN E. SCHULLER
   PHOEBE LIU                                     Attorneys
26 JULIA MONTGOMERY                               Disability Rights Section
   JONI CARRASCO                                  Civil Rights Division
27 SAMI HASAN                                     U.S. Department of Justice
   IRINA TRASOVAN                                 950 Pennsylvania Avenue, N.W. – NYA
28
   Attorneys                                      Washington, DC 20530
                                                    -1-

                                            CASE NO. CV 12-1830-EMC
                  JOINT MOTION FOR ENTRY OF CONSENT DECREE, INCLUDING PERMANENT INJUNCTION
               Case 3:12-cv-01830-JCS Document 202 Filed 05/29/14 Page 3 of 4
 1   Department of Fair                                Telephone: (202) 307-0663
       Employment and Housing                          Facsimile: (202) 305-9775
 2   2218 Kausen Drive, Suite 100                      Nabina.Sinha@usdoj.gov
 3   Elk Grove, CA 95758

 4                                                     FOR THE UNITED STATES
                                                       OF AMERICA, CONTINUED:
 5
                                                       MELINDA HAAG
 6                                                     United States Attorney
 7                                                     Northern District of California

 8                                                     ALEX G. TSE
                                                       Assistant United States Attorney
 9                                                     Chief, Civil Division
10                                                     /s/ Melanie L. Proctor
11                                                     MELANIE L. PROCTOR2
                                                       Assistant U.S. Attorney
12                                                     United States Attorney’s Office
                                                           Northern District of California
13                                                     450 Golden Gate Avenue
                                                       San Francisco, CA 94102
14
                                                       Telephone: (415) 436-6730
15                                                     Facsimile: (415) 436-6748
                                                       Melanie.Proctor@usdoj.gov
16

17   FOR THE LAW SCHOOL                                FOR ANDREW QUAN, NICHOLAS
     ADMISSION COUNCIL, INC.:                          JONES, AND ELIZABETH
18
                                                       HENNESSEY-SEVERSON:
19   /s/ Robert Burgoyne
     ROBERT A. BURGOYNE                                /s/ Jinny Kim
20   CAROLINE MEW                                      JINNY KIM
     Fulbright & Jaworski LLP                          The Legal Aid Society – Employment Law Center
21   801 Pennsylvania Avenue, N.W.                     180 Montgomery Street, Suite 600
     Washington, DC 20004                              San Francisco, CA 94104
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       I, Melanie L. Proctor, hereby attest that I gained the concurrence of all signatories whose signatures are
     represented by /s/ in the filing of this document.
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                                              CASE NO. CV 12-1830-EMC
                    JOINT MOTION FOR ENTRY OF CONSENT DECREE, INCLUDING PERMANENT INJUNCTION
             Case 3:12-cv-01830-JCS Document 202 Filed 05/29/14 Page 4 of 4


 1      [PROPOSED] ORDER GRANTING JOINT MOTION FOR ENTRY OF CONSENT
                   DECREE, INCLUDING PERMANENT INJUNCTION
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 3
            The Court has before it the Joint Motion for Entry of Consent Decree, Including
 4
     Permanent Injunction. Upon consideration of the terms of the Consent Decree, and in light of
 5
                                              29thday of ______________
     the agreement of the parties, it is this ___           May         2014 hereby ORDERED that:
 6

 7          The Joint Motion for Entry of Consent Decree is GRANTED;

 8          The clerk shall enter the Order and Permanent Injunction as a separate docket entry;

 9          The clerk shall enter the signed Consent Decree as a separate docket entry;
10          The court shall retain jurisdiction over the Consent Decree; and
11
            Accordingly, this case shall be dismissed with prejudice.
12

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14                                                                  TA
                                                                     ______________________________




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                                                                        EDWARD M. CHEN
                                                              ED



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                                                                                        REDJudge
                                                                        United States District
                                                                                ORDE
                                                          UNIT




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18                                                                      Judge E
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                                            CASE NO. CV 12-1830-EMC
                  JOINT MOTION FOR ENTRY OF CONSENT DECREE, INCLUDING PERMANENT INJUNCTION
